Case 2:22-cv-05367-RGK-MAA        Document 48    Filed 05/24/23     Page 1 of 26 Page ID
                                        #:496



 1
     PATRICK E. STOCKALPER, SBN 156954
     MOLSHREE GUPTA, SBN 275101
 2
     KJAR, MCKENNA & STOCKALPER, LLP
     841 Apollo Street, Suite 100
 3
     El Segundo, California 90245
     Telephone (424) 217-3026
 4
     Facsimile (424) 367-0400
     pstockalper@kmslegal.com
 5   mgupta@kmslegal.com

 6   Attorneys for Defendants,
 7
     COUNTY OF LOS ANGELES and SERGEANT TRAVIS KELLY
     (Defendants is exempt from filing fees pursuant to Government Code § 6103)
 8
 9                             UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     JOSHUA ASSIFF,                             Case No.: 2:22-cv-05367 RGK(MAAx)
12
                 Plaintiffs,                    DEFENDANTS’ NOTICE OF MOTION
13
                                                AND MOTION FOR PARTIAL
14               v.                             SUMMARY JUDGMENT;
15                                              MEMORANDUM OF POINTS AND
     COUNTY OF LOS ANGELES;                     AUTHORITIES
16   SHERIFF DEPUTY BADGE
17   NUMBER 404532; And DOES 1                  [Filed concurrently with Dec. of Michael Gray; Dec.
     through 10,                                of Molshree Gupta; Dec. of Sgt. Travis Kelly; Dec. of
18                                              Sgt. Keith Greene; Notice of Lodging; Separate
                                                Statement; and [Proposed] Order]
19               Defendants.
20                                              Date:        June 26, 2023
                                                Time:        9:00 a.m.
21
                                                Crtrm:       850
22
23
                                                Action Filed: August 3, 2022
                                                Pretrial Conference: July 10, 2023
24                                              Trial Date: July 25, 2023
25
                                                Assigned to:
26                                              Hon. R. Gary Klausner, District Judge
27                                              Courtroom 850
28

                                              1
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA         Document 48     Filed 05/24/23   Page 2 of 26 Page ID
                                         #:497



 1   TO THIS HONORABLE COURT AND TO ALL PARTIES OF RECORD:
 2           PLEASE TAKE NOTICE that on June 26, 2023 at 9:00 a.m. or as soon thereafter
 3   as the matter may be heard in Courtroom 850 of the above captioned court, Defendants
 4   COUNTY OF LOS ANGELES and SERGEANT TRAVIS KELLY (hereinafter
 5   “Defendants”) will, and hereby doe, move this Court for an order granting Partial
 6   Summary Judgment or, pursuant to Federal Rule of Civil Procedure Rule 56 on the
 7   following grounds:
 8      1. Plaintiff Joshua Assiff’s (“Plaintiff”) first cause of action for violation of federal
 9           civil rights under 42 U.S.C. § 1983 against Defendant Kelly for unlawful arrest
10           has no merit because no reasonable jury could find an absence of probable cause
11           based on the undisputed facts.
12      2. Plaintiff’s second cause of action for violation of federal civil rights under 42
13           U.S.C. § 1983 has no merit because Defendant County neither knowingly nor
14           intentionally promulgated, maintained, applied, enforced, and continued policies
15           and custom which caused the alleged constitutional deprivation. Under section
16           1983, liability cannot attach a governmental entity unless and until the plaintiff
17           has established the governmental entity had a custom, policy, or practice which
18           caused Plaintiff to suffer a constitutional injury. Moreover, the undisputed
19           evidence shows that Deputy Travis Kelly received proper training and supervision
20           in accordance to Defendant County’s policies.
21      3. Plaintiff’s claim for punitive damages against Defendant Kelly has no merit
22           because no reasonable jury could find that he acted with the intent to use excessive
23           force, or with malice, oppression or reckless disregard of Plaintiff’s constitutional
24           rights.
25
26   / / /
27   / / /
28   / / /
                                              2
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48     Filed 05/24/23   Page 3 of 26 Page ID
                                       #:498



 1      The Motion is based upon this Notice of Motion and Motion, the Memorandum of
 2   Points and Authorities, the Separate Statement of Undisputed Material Facts, Declaration
 3   of Defendant Sergeant Travis Kelly, Declaration of Sergeant Keith Greene, Declaration
 4   of Michael Gray, Declaration of Molshree Gupta, Esq., all admitted exhibits, the records
 5   and files herein, and upon such other oral and documentary evidence as may be
 6   presented and admitted at the time of the hearing on this motion.
 7
 8
 9   Dated: May 24, 2023                   KJAR, MCKENNA & STOCKALPER, LLP

10
11                                    By: ___________________________________
                                          PATRICK E. STOCKALPER
12
                                          MOLSHREE GUPTA
13                                        Attorneys for Defendants,
                                          COUNTY OF LOS ANGELES and DEPUTY
14
                                          TRAVIS KELLY
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              3
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA                 Document 48          Filed 05/24/23         Page 4 of 26 Page ID
                                                 #:499



 1                                             TABLE OF CONTENTS

 2   TABLE OF CONTENTS…………………………………………………………………4
 3   TABLE OF AUTHORITIES……………………………………………………………..5
 4   I.    INTRODUCTION ................................................................................................... 7
 5   II. STATEMENT OF FACTS ...................................................................................... 8
 6           A.       The Underlying Incident……………………………………………………8
 7           B.       Plaintiff's Allegations…………………………………………………….. 10
 8           C.       Defendant Kelly Had Probable Cause to Arrest Plaintiff on September 24,
                      2021………………………………………………………………………..11
 9
             D.       Defendant Kelly Was Never Assigned to Any Antelope Valley Station….12
10
             E.       The County Did Not Maintain Any Custom or Policy Which Caused
11                    Plaintiff's Alleged Injury ………………………………………………….13
12           F.       Defendant Kelly Did Not Act With Malice, Oppression or Reckless
13                    Disregard…………………………………………………………………..14
14   III. LEGAL STANDARD ON SUMMARY JUDGMENT ...........................................14
15   IV. DISCUSSION .........................................................................................................15

16
             A. Defendant Kelly Is Entitled to Summary Judgment on Plaintiff’s Claim for
                Unlawful Arrest Because No Reasonable Jury Could Find an Absence of
17              Probable Cause Based on the Undisputed Facts………………………………15
18                    i.       There Was Probable Cause to Arrest Plaintiff for Obstructing,
19                             Resisting and/or Battering an Officer……………………………....16

20
                      ii.      Defendant Kelly is Shielded from Liability by the Doctrine of
                               Qualified Immunity…………………………………………………17
21
             B. Plaintiff Cannot Prevail on the Monell Claim………………………………..19
22
             C. The Prayer for Punitive Damages Should Be Stricken………………………22
23
     V. CONCLUSION ......................................................................................................24
24
25
26
27
28

                                              4
      _________________________________________________________________________________
          DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                     POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA                Document 48          Filed 05/24/23        Page 5 of 26 Page ID
                                                #:500



 1                                         TABLE OF AUTHORITIES

 2   Cases
     Anderson v. Liberty Lobby, Inc. (1986) 477 U.S. 242, 248 ............................................14
 3
     Ashcroft v. al-Kidd (2011) 563 U.S. 731 ........................................................................17
 4   Barry v. Fowler (9th Cir. 1990) 902 F.2d 770 .................................................................16
 5   Berry v. Baca (9th Cir. 2004) 379 F.3d 764 ...................................................................19
     Brosseau v. Haugen (2004) 543 U.S. 194 ......................................................................17
 6   Burt v. City of Santa Barbara, No. CV 16-07340-AG (JDE), 2017 WL 6334017 ..........15
 7   Celotex Corp. v. Catrett (1986) 477 U.S. 317 ................................................................15
     D.C. v. Wesby (2018) 138 S. Ct. 577 ..............................................................................15
 8   Gasho v. United States (9th Cir. 1994) 39 F.3d 1420 .....................................................16
 9   Gibson v. County of Washoe, Nev. (9th Cir. 2002) 290 F.3d 1175 .................................19
     Gillette v. Delmore (9th Cir. 1992) 979 F.2d 1342 ..........................................................20
10
     Harlow v. Fitzgerald (1981)457 U.S. 800 ......................................................................17
11   Hunter v. Bryant (1991) 502 U.S. 224 ...........................................................................17
12
     Jeffers v. Gomez (9th Cir.2001) 267 F.3d 895 ................................................................18
     Lytle v. Carl (9th Cir. 2004) 382 F.3d 978 .....................................................................19
13   Maryland v. Pringle (2003) 540 U.S. 366 ......................................................................16
14   Mattos v. Agarano (9th Cir. 2011) 661 F.3d 433 ............................................................17
     McMillian v. Monroe Cty. (1997) 520 U.S. 781 .............................................................19
15   Monell v. Dep’t of Social Services of City of N.Y.
16      (1978) 436 U.S. 658 ........................................................................ 8, 9, 20, 21, 22, 25
     Monell v. City of Oklahoma v. Tuttle, (”Tuttle”) (1985) 471 U.S. 808............................20
17
     Muehler v. Mena (2005) 544 U.S. 93 .............................................................................18
18   Mullenix v. Luna (2015) 577 U.S. 7 ...............................................................................17
     Nat’l Ass’n of Optometrists & Opticians v. Harris (9th Cir. 2012) 682 F.3d 1144 ..........14
19
     Nissan Fire & Marine Ins. Co. v. Fritz Companies, Inc.,
20        (9th Cir. 2000) 210 F.3d 1099 ..................................................................................15
21   Oviatt v. Pearce (9th Cir. 1992) 954 F.2d 1470...............................................................19
     Pembaur v. City of Cincinnati (1986) 475 U.S. 469 .......................................................19
22   Peng v. Mei Chin Penghu (9th Cir. 2003) 335 F.3d 970 .................................................15
23   Romero v. Kitsap County, 931 F.2d 624 (9th Cir. 1991) ................................................17
     Saucier v. Katz (2001) 533 U.S. 194 ..............................................................................18
24   Shafer v. Cnty. of Santa Barbara (9th Cir. 2017) 868 F.3d 1110 ....................................18
25   Trevino v. Gates (9th Cir. 1996) 99 F.3d 911 ..................................................................20
     Wash. Mut. Inc. v. United States, (9th Cir. 2011)636 F.3d 1207, 1216 ...........................14
26
27
28

                                              5
      _________________________________________________________________________________
         DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                    POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA                 Document 48          Filed 05/24/23         Page 6 of 26 Page ID
                                                 #:501



 1                                 TABLE OF AUTHORITIES (Continued)

 2   Statutes
     42 U.S.C. section 1983 ........................................................................................ 7, 15, 22
 3
     Penal Code section 69 .................................................................................. 10, 11, 16, 18
 4   Penal Code section 243(b) ........................................................................... 10, 11, 16, 18
 5   Penal Code section 836 ............................................................................................ 12, 17
     Vehicle Code section 12951(b) ................................................................................ 11, 16
 6   Vehicle Code section 21453(b) ....................................................................................... 8
 7   Vehicle Code section 21950(a) ....................................................................................... 8
 8   Other Authorities
     9th Cir. Model Jury Instr. 5.5 (2022)..............................................................................23
 9
     Rules
10   Federal Rules of Civil Procedure Rule 56(a) ..............................................................8, 14
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              6
      _________________________________________________________________________________
         DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                    POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48     Filed 05/24/23   Page 7 of 26 Page ID
                                       #:502



 1                   MEMORANDUM OF POINTS AND AUTHORITIES

 2
     I.     INTRODUCTION

 3
            Plaintiff Joshua Assiff’s (“Plaintiff”) First Amended Complaint alleges two causes

 4
     of action against Defendants SERGEANT TRAVIS KELLY (“Defendant Kelly”) and

 5
     COUNTY OF LOS ANGELES (“Defendant County”). The first Cause of Action is for

 6
     violations under 42 U.S.C. section 1983 against Defendant Deputy for arresting Plaintiff

 7
     without probable cause and the use of excess force in violation of the Fourth and

 8
     Fourteenth Amendment to the United States Constitution. The second Cause of Act is for

 9
     violations under 42 U.S.C. section 1983 against Defendant County for allegedly

10
     knowingly and intentionally maintaining an unlawful custom and practice in violation of

11
     the Fourth and Fourteenth Amendment to the United States Constitution (Monell claim).

12
     Defendant County moves for summary judgment on Plaintiff’s second Cause of Action

13
     because Plaintiff’s Monell claims are without merit.

14
            The undisputed evidence unequivocally establishes that Deputy did not violate

15
     Plaintiff’s constitutional rights. Moreover, Plaintiffs have not set forth any evidence of

16
     an unconstitutional custom, policy, or practice of the County of Los Angeles’ Sheriff

17
     Department that was the “moving force” behind Plaintiff’s alleged constitutional

18
     violation. Plaintiff’s only supporting evidence in support of his Monell claim is a

19
     Department of Justice, Civil Rights Division study that reviewed the Los Angeles

20
     County Sheriff Department (“LASD”) stations only in Antelope Valley and neither

21
     reviewed nor made any findings regarding LASD stations in Santa Clarita Valley, which

22
     was Defendant Kelly’s assigned station and the relevant station in Plaintiff’s case.

23
     Plaintiff cannot maintain the second Cause of Action for violations under 42 U.S.C.

24
     section 1983 that County of Los Angeles knowingly, intentionally promulgated,

25
     maintained, applied, enforced, and continued policies, customs, practices and usages in

26
     violation of the Fourth and Fourteenth Amendment respectively to the United States

27
     Constitution, allegedly causing Plaintiff harm.

28
            Therefore, for each of the reasons set forth, the claim for unlawful arrest and the

                                              7
      _________________________________________________________________________________
          DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                     POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA         Document 48    Filed 05/24/23   Page 8 of 26 Page ID
                                         #:503



 1   Monell claim must be dismissed pursuant to Federal Rules of Civil Procedure (“FRCP”)
 2   Rule 56(a).
 3   II.     STATEMENT OF FACTS
 4           Plaintiff alleges that, on or about September 24, 2021, he, a 21-year-old black
 5   male, was pulled over and subsequently arrested by a male Caucasian motorcycle officer
 6   (“Defendant Kelly”) for no apparent reason and without probable cause. (Fact Nos. 1,
 7   30; First Amended Complaint, ¶¶ 9-11.) He further alleges that he was tasered, choked,
 8   pepper sprayed and beaten, all in violation of his constitutional rights. (Fact No. 31; First
 9   Amended First Amended Complaint , ¶¶ 1, 12.)
10           A.    The Underlying Incident
11           Defendant Kelly initiated the traffic stop at the intersection of Soledad Canyon
12   Road and Sierra Highway because he observed a black GMC Terrain (driven by
13   Plaintiff) make a right-hand turn without stopping for the steady circular red traffic
14   signal (violation of California Vehicle Code section 21453(b)) and without yielding to
15   pedestrians in the crosswalk (violation of California Vehicle Code section 21950(a)).
16   (Fact No. 2.) The incident was captured on video by Defendant Kelly once he activated
17   his non-department issued personal Body Worn Camera ("BWC") as he was
18   dismounting his motorcycle at the outset of the traffic stop. (Fact No. 3.) From the
19   beginning of the traffic stop, Plaintiff was argumentative with Defendant Kelly about the
20   reason for the traffic stop, and contradicted Defendant Kelly’s statement that Plaintiff
21   made a right-hand turn without stopping for the red traffic signal. (Fact No. 4.) While
22   Plaintiff was speaking, Defendant Kelly could smell a strong odor of burnt marijuana
23   emitting from his vehicle. (Fact No. 5.) Due to Plaintiff’s agitation, rapid speech, and
24   odor of marijuana, Defendant Kelly believed Plaintiff may have been under the influence
25   of marijuana. (Fact No. 6.)
26           Defendant Kelly requested Plaintiff’s driver’s license three times in the first
27   approximately 45 seconds of the BWC. (Fact No. 7.) In response, Plaintiff continued
28   arguing with Sergeant Kelly and did not provide his driver’s license. (Fact No. 8.) At
                                              8
      _________________________________________________________________________________
           DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                      POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48      Filed 05/24/23   Page 9 of 26 Page ID
                                       #:504



 1   the third request for Plaintiff’s driver’s license, Sergeant Kelly warned Plaintiff to "give
 2   me your driver's license or you're going to jail." (Fact No. 9.) In response to the third
 3   request for Plaintiff’s driver’s license, Plaintiff stated “let me grab my phone,” and began
 4   to reach towards the center console of the vehicle with his right hand. (Fact No. 10.)
 5   Immediately thereafter, Defendant Kelly opened Plaintiff’s driver’s door and ordered
 6   Plaintiff to exit the vehicle. (Fact No. 11.) Plaintiff responded “no I’m not.” (Fact No.
 7   11.)
 8          Between approximately 45 seconds and 1 minute and 20 seconds into the BWC
 9   footage, Defendant Kelly initiated physical contact with Plaintiff’s left wrist to pull him
10   out of the vehicle, which Plaintiff physically resisted by pulling his arm away; Defendant
11   Kelly’s report on the incident indicates that he felt Plaintiff kick him during this brief
12   struggle. (Fact No. 12.) Defendant Kelly then stepped back slightly from Plaintiff,
13   radioed for backup, and yelled out for assistance to Deputy Joshua Clark, who was in
14   the same parking lot. (Fact No. 13.) Plaintiff began to video record the incident on his
15   cellphone. (Fact No. 14.) Defendant Kelly then ordered Plaintiff to exit the vehicle
16   several times, and warned about the use of pepper spray if Plaintiff failed to comply.
17   (Fact No. 15.) Around 1 minute and 20 seconds into the BWC footage, Sergeant Kelly
18   deployed his pepper-spray against Plaintiff in a 1-2 second burst, and initiated second
19   physical contact with Plaintiff to pull him out of the vehicle. (Fact No. 16.)
20          At about 1 minute and 25 seconds into the BWC footage, a second Deputy
21   (identified as Deputy Joshua Clark) can be seen attempting to aid Defendant Kelly with
22   Plaintiff to pull him out of the vehicle. (Fact No. 17.) Defendant Kelly reported that he
23   saw Plaintiff punch Deputy Clark in the chest, and he punched Plaintiff in the face with
24   his left fist. (Fact No. 18.) The physical struggle between the two Deputies and Plaintiff
25   continued for about 55 seconds while plaintiff was still seated in the driver’s seat of his
26   vehicle actively resisting. (Fact No. 19.)
27          At about 2 minutes and 20 seconds, a third Deputy (Deputy Garrett Gallegos)
28   arrived on the scene. (Fact No. 20.) Shortly thereafter, Deputy Gallegos deployed his
                                              9
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48 Filed 05/24/23       Page 10 of 26 Page ID
                                       #:505



 1   Taser to Plaintiff's back through direct contact. (Fact No. 21.) At about 2 minutes and
 2   27 seconds, the three Deputies were able to bring Plaintiff out of his vehicle and to the
 3   ground next to it. (Fact No. 22.) Once on the ground, Plaintiff continued kicking and
 4   pulling his arms away despite commands to get onto his stomach and stop resisting.
 5   (Fact No. 23.) At about 2 minutes and 36 seconds, Deputy Gallegos again deployed his
 6   Taser to Plaintiff in an attempt to gain compliance. ((Fact No. 24.)
 7         Defendant Kelly ordered Plaintiff to roll onto his stomach and place his hands
 8   behind his back, and warned that the Taser would be used again if he did not comply.
 9   (Fact No. 25.)   Plaintiff then rolled onto his stomach, stopped resisting and was placed
10   in handcuffs. (Fact No. 26.)     Based on the foregoing, Defendant Kelly believed there
11   was probable cause to arrest Plaintiff for violation of California Penal Code sections 69
12   (resisting an officer) and 243(b) (battery against the person of an officer). (Fact No. 27.)
13         B.     Plaintiff’s Allegations
14         As to Defendant Kelly, Plaintiff alleges that he “acting under color or law or color
15   of authority, deprived Plaintiff of his rights, privileges, or immunities secured by the
16   State and Federal Constitutions, by arresting Plaintiff without probable cause and with
17   use of excess force in violation of the Fourth and Fourteenth Amendment to the United
18   States Constitution.” (Fact No. 32; First Amended Complaint, ¶ 15.)
19         As to the County, Plaintiff alleges in a conclusory manner that the “County
20   knowingly and intentionally promulgated, maintained, applied, enforced, and continued
21   policies, customs, practices and usages… include[ing], without limitation, the
22   employment of motorcycle and other officers to make unnecessary and unwarranted
23   traffic stops to bully and harass African American drivers. This would include among
24   other things, the initiation of frivolous traffic stops, arrest without probably cause, and
25   the use of excessive force to effectuate the arrest.” (Fact No. 40; First Amended
26   Complaint, ¶ 21.) Plaintiff cites to a 2013 Department of Justice, Civil Rights Division’s
27   review of LASD’s Antelope Valley stations which eventually led to a legal settlement
28   with federal authorities. (Fact No. 41; First Amended Complaint, ¶ 21.) Plaintiff alleges
                                              10
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48 Filed 05/24/23        Page 11 of 26 Page ID
                                       #:506



 1   the Department of Justice’s findings regarding racial profiling and discriminatory traffic
 2   stops in Antelope Valley are persistent and ongoing recognized by the Department of
 3   Justice, Civil Rights Division. (Fact No. 41; First Amended Complaint, ¶ 21.) However,
 4   the legal settlement and findings do not mention nor provide findings as to LASD Santa
 5   Clarita Valley station. (Fact No. 42.)
 6         C.     Defendant Kelly Had Probable Cause to Arrest Plaintiff on September
 7                24, 2021
 8         As discussed above, Defendant Kelly believed there was probable cause to arrest
 9   Plaintiff for violation of California Penal Code sections 69 (resisting an officer) and
10   243(b) (battery against the person of an officer).       (Fact No. 27.)       Moreover, on
11   September 25, 2021, a judicial officer of the State of California found that there was
12   probable cause for Plaintiff’s subject arrest for California Penal Code sections 69
13   (resisting an officer) and 243(b) (battery against the person of an officer). (Fact No. 28.)
14         Finally, based upon his education, training, experience, and review of materials to
15   date, Defendants’ disclosed expert, Michael Gray, opines that there was probable cause
16   for Plaintiff’s arrests. (Fact No. 29.) Defendant Kelly’s BWC footage indicates that
17   Plaintiff both verbally and physically resisted Defendant Kelly’s detention; specifically,
18   Plaintiff verbally argued with Sergeant Kelly regarding the legality of the traffic stop, he
19   declined to provide his driver’s license when requested (three times) (a violation of
20   California Vehicle Code 12951(b), a misdemeanor) and, even after he was warned that
21   failure to do so would result in an arrest, he refused to exit the vehicle despite being
22   ordered to do so several times. (Fact No. 33.) Citizens are aware (California DMV
23   Handbook and CVC 12951(b)) that when stopped by law enforcement they must
24   produce a driver’s license, proof of insurance and vehicle registration and if told to exit a
25   vehicle they must comply. (Fact No. 34.) Citizens are generally aware they do have a
26   First Amendment right to record interactions with law enforcement but do not have a
27   right to interfere with the officer’s lawful duties or commands. (Fact No. 34.)
28         Plaintiff was warned that failure to do so would result in him being pepper
                                              11
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48 Filed 05/24/23        Page 12 of 26 Page ID
                                       #:507



 1   sprayed, and he physically resisted and fought Defendant Kelly’s attempts to remove
 2   him from his vehicle to effectuate an arrest a violation of Penal Code Section 148. (Fact
 3   No. 35.) Collectively, this series of failures to comply and the escalation from passive to
 4   aggressive resistance on the Plaintiff’s behalf provided Defendant Kelly with the
 5   probable cause to lawfully arrest Plaintiff pursuant to California Penal Code section
 6   836—which allows a peace officer to arrest a person without a warrant if the officer has
 7   probable cause to believe that the person to be arrested has committed a public offense in
 8   the officer’s presence. (Fact No. 36.)
 9           Based on Plaintiff’s aforementioned conduct, Defendant Kelly’s conduct was
10   objectively reasonable under the circumstances and is compliant with law enforcement
11   training, policies, and procedures.      (Fact No. 37.)    Moreover, Fourth Amendment
12   jurisprudence has long recognized that the right to make an arrest or investigatory stop
13   necessarily carries with it the right to use some degree of physical coercion or threat
14   thereof to effect it. (Fact No. 38.) Defendant Kelly’s conduct was not excessive force
15   and, instead, was an appropriate degree of force, that is objectively reasonable, in light of
16   Plaintiff’s continued resistance and failure to comply with Defendant Kelly’s reasonable
17   orders. (Fact No. 39.)
18           D.   Defendant Kelly Was Never Assigned to Any Antelope Valley Station
19           On or about September 24, 2021, Defendant Kelly was assigned and employed
20   with LASD Santa Clarita Valley station. (Fact No. 43.) At no point has Defendant Kelly
21   been assigned to nor worked with LASD Antelope Valley stations, including LASD
22   Lancaster and Palmdale stations, i.e. the stations reviewed and involved in the legal
23   settlement with the Department of Justice. (Fact No. 43.) Moreover, the DOJ’s failure to
24   include, mention, or review LASD Santa Clarita Valley station in their study in fact
25   suggests no pervasive, continuous, or known unconstitutional policies or practices
26   existed or allowed for Plaintiff’s alleged constitutional violation. (Fact No. 44.)
27   / / /
28   / / /
                                              12
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA      Document 48 Filed 05/24/23          Page 13 of 26 Page ID
                                      #:508



 1         E.    The County Did Not Maintain Any Custom or Policy Which Caused
 2               Plaintiff’s Alleged Injury
 3         Plaintiff has failed to provide any evidence or identify any specific policies or
 4   customs that LASD Santa Clarita Valley, Deputy’s assigned station which had
 5   jurisdiction over Defendant Kelly, held or allowed which caused Plaintiff’s alleged
 6   constitutional violation. (Fact Nos. 45, 74.) The County neither promulgates, maintains,
 7   nor enforces customs or policies that allowed for nor caused Plaintiff injury. (Fact No.
 8   46.) To the contrary, Defendants’ evidence shows that: 1) the County and the LASD
 9   maintained and strictly enforced policies and procedures regarding the use of force
10   during traffic stop, (Fact No. 59); 2) the County, and the LASD, continue to promote,
11   train, and enforce their policies and procedures regarding lawful and professional
12   engagement with the public, (Fact Nos. 37, 60-62); 3) Defendant Kelly received all
13   mandatory LASD training concerning how to conduct traffic stops and how to
14   appropriately respond to both passive and active resistance from motorists while
15   conducting traffic stops, (Fact No. 61); 5) Defendant Kelly also received LASD training
16   concerning de-escalation procedures to be used during traffic stops, (Fact No. 62); and 6)
17   the County’s and LASD’s responses to any prior personnel incidents were appropriately,
18   timely and adequately addressed, (Fact Nos. 63-67).
19         Specifically, the County of Los Angeles and its Sheriff’s Department take steps to
20   ensure that its deputies act lawfully and do not violate civil rights when enforcing the
21   law. (Fact Nos. 47-57.) On or about September 24, 2021, the County and LASD
22   maintained and strictly enforced policies and procedures regarding traffic stops, as well
23   as the use of force, including de-escalation procedures. (Fact Nos. 59, 60.) During his
24   employment with LASD, Defendant Kelly received all required LASD training
25   concerning how to conduct traffic stops and how to appropriately respond to passive and
26   active resistance from motorists while conducting traffic stops. (Fact No. 61.) Further,
27   Defendant Kelly received LASD training concerning de-escalation procedures that may
28   be used while conducting these traffic stops. (Fact No. 62.)
                                              13
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA        Document 48 Filed 05/24/23      Page 14 of 26 Page ID
                                        #:509



 1          As such, there is no evidence to indicate that the LASD has a custom or practice
 2   of violating the civil rights of citizens. (Fact No. 58.)
 3          F.    Defendant Kelly Did Not Act With Malice, Oppression or Reckless
 4                Disregard
 5          Defendant Kelly did not intend to use unreasonable or excessive force against
 6   Plaintiff at any point during the incident.       (Fact No. 68.)   At no point during his
 7   encounter with Plaintiff did Defendant Kelly ever retaliate against him for anything he
 8   said or did to Defendant Kelly or other LASD deputies, nor did Defendant Kelly ever
 9   retaliate against Plaintiff for recording the incident. (Fact No. 69.) At no point during
10   Defendant Kelly’s encounter with Plaintiff were his actions due to racial animus or
11   discriminatory motive. (Fact No. 70.) Nor at any point during the encounter with
12   Plaintiff did Defendant Kelly witness any other LASD deputy act out of racial animus or
13   discriminatory motive, or otherwise conduct themselves unlawfully or unreasonably.
14   (Fact No. 71.) Defendant Kelly did not racially profile Plaintiff in initiating the traffic
15   stop. (Fact No. 72.) Furthermore, at no point during his interaction with Plaintiff did
16   Defendant Kelly act with malice, oppression or in reckless disregard of Plaintiff’s rights,
17   nor did Defendant Kelly observe any other deputy act in such manner toward Plaintiff.
18   (Fact No. 73.)
19   III.   LEGAL STANDARD ON SUMMARY JUDGMENT
20          Summary judgment should be granted “if the movant shows that there is no
21   genuine dispute as to any material fact and the movant is entitled to judgment as a matter
22   of law.” Fed. R. Civ. P. 56(a); accord Wash. Mut. Inc. v. United States, 636 F.3d 1207,
23   1216 (9th Cir. 2011). Material facts are those that may affect the outcome of the case.
24   Nat’l Ass’n of Optometrists & Opticians v. Harris, 682 F.3d 1144, 1147 (9th Cir. 2012)
25   (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). A dispute is genuine
26   “if the evidence is such that a reasonable jury could return a verdict for the nonmoving
27   party.” Liberty Lobby, 477 U.S. at 248.
28          The moving party bears the initial burden of establishing the absence of a genuine
                                              14
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48 Filed 05/24/23      Page 15 of 26 Page ID
                                       #:510



 1   dispute of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). A moving
 2   party meets its initial burden of production by “produc[ing] evidence negating an
 3   essential element of the nonmoving party’s claim or defense or show [ing] that the
 4   nonmoving party does not have enough evidence of an essential element to carry its
 5   ultimate burden of persuasion at trial.” Nissan Fire & Marine Ins. Co. v. Fritz
 6   Companies, Inc., 210 F.3d 1099, 1102 (9th Cir. 2000). If the moving party meets this
 7   burden, the burden shifts to the nonmoving party to “produce enough evidence to create
 8   a genuine issue of material fact.” Id. at 1103 (citing Celotex Corp., 477 U.S. at 322). If
 9   no genuine issue of material fact exists, then summary judgment should be granted.
10   Celotex Corp., 477 U.S. at 323-24.
11   IV.   DISCUSSION
12            A. Defendant Kelly Is Entitled to Summary Judgment On Plaintiff’s
13                Claim For Unlawful Arrest Because No Reasonable Jury Could Find
14                An Absence Of Probable Cause Based On The Undisputed Facts
15         Defendant Kelly is entitled to summary judgment on Plaintiff’s first cause of
16   action under 42 U.S.C. § 1983 for unlawful arrest because no reasonable juror could find
17   the absence of probable cause to arrest Plaintiff for resisting/obstructing and battering
18   Defendant Kelly.
19         Probable cause to arrest is an absolute defense to any claim under § 1983 against
20   police officers for wrongful arrest or false imprisonment, as the lack of probable cause is
21   a necessary element of each.” Burt v. City of Santa Barbara, No. CV 16-07340-AG
22   (JDE), 2017 WL 6334017, at *4 (C.D. Cal. Oct. 2, 2017), report and recommendation
23   adopted, No. CV 16-07340-AG (JDE), 2017 WL 6343555 (C.D. Cal. Nov. 30, 2017),
24   aff'd, 745 F. App'x 680 (9th Cir. 2018). Where the only disputes involve what inferences
25   properly may be drawn from historical material facts, it is appropriate for the court to
26   decide whether probable cause existed at the time of the arrest. Peng v. Mei Chin Penghu
27   (9th Cir. 2003) 335 F.3d 970, 979–80.
28         Probable cause to arrest is not a high bar. D.C. v. Wesby (2018) 138 S. Ct. 577. To
                                              15
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48 Filed 05/24/23      Page 16 of 26 Page ID
                                       #:511



 1   determine whether an officer had probable cause to arrest an individual, the courts
 2   examine the events leading up to the arrest, and then decide whether these historical
 3   facts, viewed from the standpoint of an objectively reasonable police officer, amount to
 4   “probable cause.” Maryland v. Pringle (2003) 540 U.S. 366, 371. “Probable cause for a
 5   warrantless arrest arises when the facts and circumstances within the officer's knowledge
 6   are sufficient to warrant a prudent person to believe that the suspect has committed ... an
 7   offense.” Barry v. Fowler, 902 F.2d 770, 773 (9th Cir.1990) (internal quotation marks
 8   omitted). The standard of proof for probable cause is less than proof beyond a reasonable
 9   doubt; less than a preponderance of the evidence; and less than a prima facie showing.
10   Id. “Because probable cause must be evaluated from the perspective of prudent men, not
11   legal technicians, an officer need not have probable cause for every element of the
12   offense.” Gasho v. United States (9th Cir. 1994) 39 F.3d 1420, 1428 (Internal citations
13   and quotations omitted).
14                    i. There Was Probable Cause To Arrest Plaintiff for Obstructing,
15                       Resisting and/or Battering an Officer
16         The undisputed historical material facts known to Defendant Kelly at the time of
17   Plaintiff’s arrest were sufficient to warrant any prudent person to believe that Plaintiff
18   violated California Penal Code sections 69 (obstructing or resisting an officer) and
19   243(b) (battery against an officer).
20         During the subject incident, Plaintiff both verbally and physically resisted
21   Defendant Kelly’s detention. (Fact Nos. 33-35.) Specifically, Plaintiff verbally argued
22   with Defendant Kelly regarding the legality of the traffic stop, he declined to provide his
23   driver’s license when requested (three times) (a violation of California Vehicle Code
24   12951(b), a misdemeanor) and, even after he was warned that failure to do so would
25   result in an arrest. (Fact Nos. 33-35.) Plaintiff also declined to exit the vehicle despite
26   being ordered to do so several times, even after he was warned that failure to do so
27   would result in him being pepper sprayed.          (Fact Nos. 33-35.) Finally, Plaintiff
28   physically resisted and fought Defendant Kelly’s attempts to remove him from his
                                              16
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48 Filed 05/24/23        Page 17 of 26 Page ID
                                       #:512



 1   vehicle to effectuate a detention. (Fact Nos. 33-35.)
 2         Collectively, this series of failures by Plaintiff to comply with Defendant Kelly’s
 3   commands and the escalation from passive to active (and aggressive) resistance on
 4   Plaintiff’s behalf provided Defendant Kelly with the probable cause to lawfully arrest
 5   Plaintiff pursuant to California Penal Code section 836—which allows a peace officer to
 6   arrest a person without a warrant if the officer has probable cause to believe that the
 7   person to be arrested has committed a felony. (Fact No. 36.)
 8                   ii. Defendant Kelly Is Shielded From Liability By The Doctrine Of
 9                        Qualified Immunity
10         Under the doctrine of qualified immunity, government officials are shielded from
11   liability for civil damages from mistakes unless their conduct violates “clearly
12   established statutory or Constitutional rights of which a reasonable person would have
13   known.” Harlow v. Fitzgerald, 457 U.S. 800 (1981); Romero v. Kitsap County, 931 F.2d
14   624 (9th Cir. 1991). Qualified immunity gives ample room for mistaken judgments by
15   protecting “all but the plainly incompetent or those who knowingly violate the law.”
16   Hunter v. Bryant (1991) 502 U.S. 224, 229. Once the official pleads qualified immunity,
17   the burden is on the plaintiff to prove two elements: (1) that a constitutional right was
18   violated; and (2) that the right was clearly established at the time of the alleged
19   misconduct. See Mattos v. Agarano (9th Cir. 2011) 661 F.3d 433, 440.
20         Under the second prong of the qualified immunity analysis, “[a] clearly
21   established right is one that is sufficiently clear that every reasonable official would have
22   understood that what he is doing violates that right.” Mullenix v. Luna (2015) 577 U.S.
23   7, 12 (internal quotation marks omitted).       Such clarity can only be established by
24   “existing precedent” that has “placed the statutory or constitutional question beyond
25   debate.” Ashcroft v. al-Kidd (2011) 563 U.S. 731, 741. “Because the focus is on whether
26   the officer had fair notice that her conduct was unlawful, reasonableness is judged
27   against the backdrop of the law at the time of the conduct.” Brosseau v. Haugen (2004)
28   543 U.S. 194, 198.
                                              17
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48 Filed 05/24/23      Page 18 of 26 Page ID
                                       #:513



 1           As such, “officials can have reasonable, but mistaken, beliefs . . . and in those
 2   situations courts will not hold that they have violated the Constitution.” Saucier v. Katz
 3   (2001) 533 U.S. 194, 205. Particularly, in tense situations, officials are afforded “broad
 4   discretion” and “immunity even when [they] make mistakes.” Jeffers v. Gomez (9th
 5   Cir.2001) 267 F.3d 895, 909. Moreover, “[i]t is the plaintiff who bears the burden of
 6   showing that the rights allegedly violated were clearly established.” Shafer v. Cnty. of
 7   Santa Barbara (9th Cir. 2017) 868 F.3d 1110, 1118.
 8           Defendant Kelly is entitled to qualified immunity as to Plaintiff’s claim for
 9   unlawful arrest. As discussed above, probable cause existed to arrest Plaintiff. It was
10   reasonable for Defendant Kelly to believe that the initial stop of Plaintiff was justified;
11   as such, it was reasonable for him to use at least some degree of coercion and exercise
12   some degree of control over Plaintiff’s conduct. See Muehler v. Mena (2005) 544 U.S.
13   93, 93 (“Inherent in [the] authorization to detain is the authority to use reasonable force
14   to effectuate the detention.”). Further, based on Defendant Kelly’s observations at the
15   scene, Plaintiff responded to his reasonable orders by resisting and disobeying the lawful
16   commands.
17           Moreover, Defendant Kelly both experienced and observed not only Plaintiff’s
18   physical resistance and obstruction, but also Plaintiff’s battery on both himself and
19   Deputy Clark. To wit: Defendant Kelly felt Plaintiff pull his left wrist away from
20   Defendant Kelly’s grasp and also felt Plaintiff kick Defendant Kelly during the initial
21   physical contact; Defendant Kelly also observed Plaintiff struggle with deputies for a
22   long time, and punch Deputy Clark during the second physical contact.
23           As such, Defendant Kelly is entitled to qualified immunity as there is no set of
24   facts that would demonstrate that his arrest of Plaintiff on September 24, 2021 under
25   California Penal Code sections 69 (resisting an officer) and 243(b) (battery against the
26   person of an officer) was without probable cause under the totality of circumstances.
27   / / /
28   / / /
                                              18
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA        Document 48 Filed 05/24/23     Page 19 of 26 Page ID
                                        #:514



 1             B. Plaintiff Cannot Prevail on the Monell Claim
 2         In Monell v. Dep’t of Social Services of City of N.Y. (1978) 436 U.S. 658, the
 3   Supreme Court held, “the doctrine of respondeat superior is not a basis for rendering
 4   municipalities liable under § 1983 for the constitutional torts of their employees.” Id. at
 5   663; McMillian v. Monroe Cty. (1997) 520 U.S. 781. Therefore, regardless of whether
 6   their deputies “violated” plaintiff’s civil rights, the County cannot be held vicariously
 7   liable under 42 U.S.C. § 1983 as a matter of law. Monell, 436 U.S. at 693. The Supreme
 8   Court explained, “municipal liability under § 1983 attaches where – and only where – a
 9   deliberate choice to follow a course of action is made from among various alternatives
10   by the official(s) responsible for establishing final policy with respect to the subject
11   matter in question. Pembaur v. City of Cincinnati (1986) 475 U.S. 469, 483-84. As
12   such, liability under Monell may attach when an employee acts pursuant to an expressly
13   adopted official policy. Lytle v. Carl (9th Cir. 2004) 382 F.3d 978, 981; see also Gibson
14   v. County of Washoe, Nev. (9th Cir. 2002) 290 F.3d 1175, 1185, cert. denied, 537 U.S.
15   1106 (2003).
16         Therefore, to prevail on their section 1983 claims, Plaintiff bears the burden of
17   proving each of the following elements: (1) Plaintiff possessed a constitutional right of
18   which the Plaintiff was deprived; (2) the municipality had a policy; (3) the policy
19   amounts to deliberate indifference to the Plaintiff’s constitutional right; and (4) the
20   policy is the moving force behind the constitutional violation. Oviatt v. Pearce, 954 F.2d
21   1470, 1474 (9th Cir. 1992). Here, the County, and its departments, cannot be held liable
22   under 42 U.S.C. § 1983 because there is no evidence establishing that County
23   maintained a custom, practice, or policy that was the moving force behind the alleged
24   violations of Plaintiff’s constitutional rights.
25         It is a plaintiff’s burden to show that a municipality instituted and maintains a
26   policy that caused him to suffer a violation. Berry v. Baca (9th Cir. 2004) 379 F.3d 764,
27   767. To meet that burden, plaintiff must prove “the existence of a widespread practice
28   that…is so permanent and well settled as to constitute a ‘custom or usage’ with the force
                                              19
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA         Document 48 Filed 05/24/23       Page 20 of 26 Page ID
                                         #:515



 1   of law.” Gillette v. Delmore, 979 F.2d 1342, 1349 (9th Cir. 1992). However, liability for
 2   an improper custom may not be predicated on isolated or sporadic incidents and the
 3   custom must be so persistent and widespread that it constitutes a permanent and well-
 4   settled policy. Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996).
 5            Because Plaintiff cannot identify a single unconstitutional policy, practice, custom
 6   or usage the of County nor of the relevant LASD that was the cause in fact of any
 7   deprivation of Plaintiff’s constitutional rights, Plaintiff’s Monell claim against County
 8   fails.
 9            On or about September 24, 2021, the County and LASD maintained and strictly
10   enforced policies and procedures regarding traffic stops, as well as the use of force,
11   including de-escalation procedures. (Fact Nos. 58-60.) Defendant Kelly received all
12   required LASD training concerning how to conduct traffic stops and how to
13   appropriately respond to passive and active resistance from motorists while conducting
14   traffic stops. (Fact Nos. 61-62.) Further, Deputy received LASD training concerning de-
15   escalation procedures that may be used while conducting these traffic stops. (Fact Nos.
16   61-62.)
17            Evidence of a single alleged constitutional violation cannot establish a custom,
18   policy, or practice under Monell. City of Oklahoma v. Tuttle, (”Tuttle”) (1985) 471 U.S.
19   808, 823-24 (plurality).      In Tuttle, the Court stated: “Proof of a single incident of
20   unconstitutional activity is not sufficient to impose liability under Monell, unless proof
21   of an incident includes proof that it was caused by an existing, unconstitutional
22   municipal policy, which policy can be attributed to a municipal policy maker. Otherwise,
23   the existence of the unconstitutional policy, and its origin, must be separately proved.
24   But where the policy relied upon is not itself unconstitutional, considerably more proof
25   than the single incident will be necessary in every case to establish both the requisite
26   fault on the part of the municipality, and the causal connection between the “policy” and
27   the constitutional deprivation.”
28            Contrary to Plaintiff’s allegations that the County knowingly and intentionally
                                              20
      _________________________________________________________________________________
         DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                    POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA       Document 48 Filed 05/24/23       Page 21 of 26 Page ID
                                       #:516



 1   promulgated, maintained, applied, enforced, and continued policies, customs, practices,
 2   and usages in violation Plaintiff’s constitutional rights, the County did not maintain any
 3   policies, practices or customs of racial profiling or discrimination, conducting
 4   unreasonable searches and seizures, using excessive force, permitting unlawful arrests,
 5   or retaliating. (Fact Nos. 47-57.) Rather, the County continues to promote, train, and
 6   enforce their policies and procedures regarding lawful and professional engagement with
 7   the public. (Fact Nos. 58-62.) Plaintiff’s Monell claims against County fail because
 8   Defendant Kelly’s personnel history does not portray behavior or conduct that would
 9   indicate Deputy knowingly or intentionally applies or enforces policies or procedures
10   that violate individuals’ constitutional rights. (Fact No. 63.)        Moreover, County
11   successfully and appropriately assessed and responded to all matters in Deputy’s
12   personnel history. (Fact Nos. 64-67.) County of Los Angeles or LASD’s responses to
13   any prior personnel incidents involving Deputy appropriately, timely, and adequately
14   addressed which proves no existing, unconstitutional municipal policy or practice existed
15   that would support a Monell claim. (Fact Nos. 64-67.)
16         Plaintiff’s Monell claim against County and LASD also fails because Plaintiff‘s
17   only supporting evidence in support of his Monell claim is the Department of Justice,
18   Civil Rights Division’s study that only reviewed LASD Antelope Valley stations. (Fact
19   Nos. 40, 41.) Plaintiff asserts this Monell claim based on LASD’s history of racial
20   profiling and discriminatory traffic stops in Antelope Valley stations and only cites to the
21   2013 Department of Justice, Civil Rights Division’s review of LASD’s Antelope Valley
22   stations that eventually led to a legal settlement with federal authorities. (Fact Nos. 40,
23   41; First Amended Complaint, Exhibit X, ¶ 21 at p. 6.) The 2013 DOJ’s study and
24   findings neither reviewed nor made any findings regarding LASD stations in Santa
25   Clarita Valley, the relevant LASD station in this matter. (Fact No. 42; First Amended
26   Complaint, Exhibit X, ¶ 21 at p. 6.)
27         On the date of the subject incident, Defendant Kelly was assigned and employed
28   with LASD Santa Clarita Valley station. (Fact No. 43.) At no point has Defendant Kelly
                                              21
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA        Document 48 Filed 05/24/23        Page 22 of 26 Page ID
                                        #:517



 1   been assigned to nor worked with LASD Antelope Valley stations, including LASD
 2   Lancaster and Palmdale stations, i.e. the stations reviewed and involved in the legal
 3   settlement with the Department of Justice. (Fact No. 43) Moreover, the DOJ’s failure to
 4   include, mention, or review LASD Santa Clarita Valley station in their study in fact
 5   suggests no pervasive, continuous, or known unconstitutional policies or practices
 6   existed or allowed for Plaintiff’s alleged constitutional violation. (Fact No. 44.) Further,
 7   Plaintiff has failed to provide any evidence or identify any specific policies or customs
 8   that LASD Santa Clarita Valley, Deputy’s assigned station which had jurisdiction over
 9   Defendant Kelly, held or allowed which caused Plaintiff’s alleged constitutional
10   violation. (Fact No. 45.)
11         Therefore, the County of Los Angeles cannot be held liable for any alleged
12   misconduct on their behalf. As such, Defendant County of Los Angeles is entitled to
13   summary judgment on Plaintiff’s second cause of action for violations pursuant to 42
14   U.S.C. § 1983.
15            C. The Prayer For Punitive Damages Should Be Stricken
16         Plaintiff’s FAC sought punitive damages claiming that the deputies’ actions were
17   “wanton, willful, deliberate, and in conscious disregard of the rights and feelings of
18   Plaintiff, was undertaken with the intent to cause Plaintiff injury and constitutes malice,
19   actual, express and implied.” (FAC, ¶¶ 18, 25.) This Court struck Plaintiff’s prayer for
20   punitive damages against the County in its February 16, 2023 Order. (See Docket #35.)
21         Moreover, the uncontroverted evidence does not support a finding that the conduct
22   of Defendant Kelly warrants punitive damages. In this regard, the Ninth Circuit Model
23   Jury Instructions explain:
24                You may award punitive damages only if you find that the
25                defendant’s conduct that harmed the plaintiff was malicious,
26                oppressive or in reckless disregard of the plaintiff’s rights. Conduct
27                is malicious if it is accompanied by ill will, or spite, or if it is for the
28                purpose of injuring the plaintiff. Conduct is in reckless disregard of
                                              22
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA        Document 48 Filed 05/24/23        Page 23 of 26 Page ID
                                        #:518



 1                 the plaintiff’s rights if, under the circumstances, it reflects complete
 2                 indifference to the plaintiff’s safety or rights, or if the defendant acts
 3                 in the face of a perceived risk that its actions will violate the
 4                 plaintiff’s rights under federal law. An act or omission is oppressive
 5                 if the defendant injures or damages or otherwise violates the rights of
 6                 the plaintiff with unnecessary harshness or severity, such as by
 7                 misusing or abusing authority or power or by taking advantage of
 8                 some weakness or disability or misfortune of the plaintiff..
 9   9th Cir. Model Jury Instr. 5.5 (2022).
10           There is no evidence that Defendant Kelly acted with malice, oppression or in
11   reckless disregard of Plaintiff’s rights. Rather, the evidence demonstrates that he acted
12   reasonably and within the confines of the Constitution. As detailed above, Defendant
13   Kelly acted reasonably based on her observations of a fast-evolving situation and
14   considering Plaintiff’s resistive and aggressive actions. Moreover, Plaintiff can offer no
15   evidence that Defendant Kelly maliciously retaliated against them or acted deliberately
16   to deny him of his rights. To the contrary, Defendant Kelly acted reasonably in acting to
17   gain control of a noncompliant Plaintiff, who kicked Defendant Kelly and punched his
18   colleague, Deputy Clark. There is no evidence that Defendant Kelly deployed anything
19   beyond the force required to overcome Plaintiff’s resistance and noncompliance, nor is
20   there any evidence that he acted maliciously.
21           Accordingly, based on all of these facts, Plaintiff is not entitled to punitive
22   damages against Defendant Kelly.
23
     / / /
24
25   / / /
26   / / /
27
28

                                              23
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA      Document 48 Filed 05/24/23    Page 24 of 26 Page ID
                                      #:519



 1   V.     CONCLUSION
 2          Plaintiffs have not provided sufficient evidence nor identified any policies or
 3   procedures capable of supporting Monell liability against the County of Los Angeles.
 4   When the facts and evidence of this case are viewed in a light most favorable to the
 5   Plaintiff, Defendant County is free of Monell liability. As such, Defendant County is
 6   entitled to summary judgment on Plaintiff’s second cause of action for violations
 7   pursuant to 42 U.S.C. § 1983.
 8
     Dated: May 24, 2023                  KJAR, MCKENNA & STOCKALPER, LLP
 9
10
                                     By: ___________________________________
11
                                         PATRICK E. STOCKALPER
12                                       MOLSHREE GUPTA
                                         Attorneys for Defendants,
13
                                         COUNTY OF LOS ANGELES and DEPUTY
14                                       TRAVIS KELLY
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              24
      _________________________________________________________________________________
          DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                     POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA      Document 48 Filed 05/24/23       Page 25 of 26 Page ID
                                      #:520


                                 CERTIFICATE OF SERVICE
 1
 2         I am employed in the County of Los Angeles, State of California; I am over the
     age of eighteen years and not a party to the within action; my business address is 841
 3
     Apollo Street, Suite 100, El Segundo, California 90245.
 4
 5          On May 24, 2023, I served the foregoing document described as DEFENDANTS’
     NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY
 6   JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES on all
 7   interested parties in this action by placing a true copy thereof in a sealed envelope
     addressed as follows:
 8
 9                            SEE ATTACHED SERVICE LIST
10
11         By Mail I caused such envelope(s) to be deposited in the mail at El Segundo,
12
           California. The envelope was mailed with postage thereon fully prepaid and
           addressed to the parties listed on the Service List. I am “readily familiar” with the
13         firm’s practice of collection and processing correspondence for mailing. It is
14         deposited with U.S. postal service on that same day in the ordinary course of
           business. I am aware that on motion of party served, service is presumed invalid
15         if postal cancellation date or postage meter date is more than 1 day after date of
16         deposit for mailing in affidavit.
17
     XX    By Email Based upon a court order or an agreement of the parties to accept
18         electronic service, I caused the documents to be sent to the persons at the
           electronic service addresses listed in the Service List. My email address is
19
           mnixon@kmslegal.com.
20
21         By Personal Service I caused such document to be Personally Served on the
           parties listed in the Service List.
22
23   XX    State I declare under penalty of perjury under the laws of the State of California
           that the foregoing is true and correct.
24
25         Executed on May 24, 2023, at El Segundo, California.
26
27
28
                                           Maria Nixon

                                              25
      _________________________________________________________________________________
        DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                   POINTS AND AUTHORITIES
Case 2:22-cv-05367-RGK-MAA   Document 48 Filed 05/24/23       Page 26 of 26 Page ID
                                   #:521



 1                                      SERVICE LIST

 2                    Assiff, Joshua vs. County of Los Angeles, et al.
 3                 Central District- Case No.: 2:22-cv-05367 RGK(MAAx)
 4
      Thomas M. Ferlauto, Esq.               Attorney for Plaintiff,
 5    Law Office of Thomas M.                JOSHUA ASSIFF
      Ferlauto, APC
 6
      25201 Paseo de Alicia, Ste. 270
 7    Laguna Hills, CA 92653
 8    EM: tmf@lawofficetmf.com

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             26
     _________________________________________________________________________________
       DEFENDANTS’ NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
                                  POINTS AND AUTHORITIES
